887 F.2d 1080Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Wilford Andrew MATHERLY, Jr., Plaintiff-Appellant,v.W.D. BLANKENSHIP;  W.F. Amonette;  Jimmy L. Hylton;  WilliamW. Martin;  Andre McGrady, Defendants-Appellees.
    No. 89-7660.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 9, 1989.Decided:  Oct. 5, 1989.
    
      Wilford Andrew Matherly, Jr., appellant pro se.
      Robert Harkness Herring, Jr.  (Office of the Attorney General of Virginia), for appellees Blakenship, Martin, and McGrady.
      Edward Meade Macon (McGuire, Woods, Battle &amp; Booth), for appellees Amonette and Hylton.
      Before K.K. HALL, SPROUSE and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Wilford Andrew Matherly, Jr. appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Matherly v. Blankenship, CA-88-555-R (W.D.Va. June 7, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    